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                           UN ITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                         CASE NO .17-10023-CR-M ART1NEZ/SNOW


 UN ITED STATES OF A M ERICA

        Plaintiff,


 ERIK DAM AS ACOSTA,

         Defendant.


        ORDER ADOPTING M AGISTM TE'S REPORT AND RECO M M ENDATION

        THIS CAUSE camebeforetheCourtupon theOrderofReferencefrom theDistrict

 Courtto conducta ChangeofPlea beforea M agistrateJudge.

        T H E M A TTER w asreferred to M agistrate Judge Lurana S.Snow ,on A ugust25,2017.

 A ReportandRecommendationwasfiledon September26,2017,(ECFNo.29j,recommending
 thatthe Defendant'splea ofguilty be accepted.D uring the Change ofPlea hearing,the

 M agistrateJudgequestioned theDefendantregarding hiswaiverofappealin which the

 Defendantacknowledged on therecordthathewaswaiving orgiving up a1lrightsto appealany

 sentence im posed by the D istrictCourtin thiscase exceptunderthe lim ited circum stances

 contained within the appealwaiverprovision from the Plea A greem ent.

        ThepartieswereaffordedtheopportunitytofileobjectionstotheReportand
 Recom m endation,how evernone w ere filed. The Courthasreview ed the entire file and record

 andnotesthatnoobjectionshavebeenfiled.Aftercarefulconsideration,theCourtaffinusand
 adoptsthe Reportand R ecom m endation. A ccordingly,itis hereby:

        ORDERED AND ADJUDGED thattheReportandRecommendation (ECFNo.29)of
 U nited States M agistrate Judge Lurana S.Snow ,ishereby A FFIR M E D and A DO PTED in its

 entirety.
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        TheDefendantisadjudgedguiltytoCounts1-3oftheInformation,whichchargeshim
 w ith unlaw fully capturing three Key deer,an endangered species,in violation ofTitle 50 C.F.R.

 j17.21(c)(1)andTitle 16,U.S.C.jj1538(a)(1)(B)and 1540(b)(1).
        ooxs Axo ouosuso inchambersatviami,ylorida,this ht dayoroctober, 9




                                                 JO SE E A RT    Z
                                                 UN ITE STA TES D ISTRI T JU DG E


 Copied:
 Hon.M agistrate Judge Snow
 AllCounselOfRecord
 U .S.Probation O ftice
